Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2474 Filed 03/24/16 Page 1 of9

EXHIBIT I
Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2475 Filed 03/24/16 Page 2 of 9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
NATALIE REESER,
Case No. 2:14-cv-11916-GCS-MJH
Plaintiff, Hon. George Caram Steeh
v Magistrate Judge Michael Hluchaniuk

HENRY FORD HEALTH SYSTEM
d/b/a HENRY FORD HOSPITAL,

Defendant.
MILLER COHEN, P.L.C. VARNUM LLP
Richard G. Mack, Jr. (P58657) Terrance J. Miglio (P30541)
Keith D. Flynn (P74192) Barbara E. Buchanan (P55084)
Adam C. Graham (P79361} Attorneys for Defendant
Attorneys for Plaintiff 39500 High Pointe Blvd., Ste. 350
600 W. Lafayette Blvd., 4" Floor Novi, MI 48375
Detroit, MI 48226-0840 (248) 567-7828

(313) 964-4454

PLAINTIFF’S THIRD SUPPLEMENTAL ANSWERS TO
DEFENDANT’S FIRST INTERROGATORIES TO PLAINTIFF

NOW COMES Plaintiff Natalie Reeser, by and through her attorneys MILLER COHEN,
P.L.C., with these supplemental answers to Defendant’s First Set of Interrogatories to Plaintiff.

GENERAL OBJECTIONS

Plaintiff, whether or not the objections are separately and specifically set forth in the
response to each Interrogatory and Request, makes the following general objections to each of
the Interrogatories and Requests.

l. Plaintiff generally objects to each Definition, Instruction, and Interrogatory to the
extent that they purport to impose a burden of ascertaining information that is not available to

Plaintiff or within her possession or control, or is equally and/or already available to Defendant.
Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2476 Filed 03/24/16 Page 3 of 9

2. Plaintiff generally objects to each Definition, Instruction, and Interrogatory to the
extent that they call for the discovery of information subject to a claim of privilege or immunity,
including, without limitation, the attorney-client or work-product privilege.

3. Plaintiff generally objects to each Definition, Instruction, and Interrogatory to the
extent that they purport to impose on Plaintiff requirements beyond those authorized by the
Federal Court Rules.

4, Plaintiff generally objects to each Definition, Instruction, and Request to the
extent that they purport to impose a burden of ascertaining information that is not available to
Plaintiff or within her possession, custody or control.

5. Plaintiff generally objects to each Definition, Instruction, and Request because
Defendant is seeking documents that are not specifically described, where the request is vague
and ambiguous.

INTERROGATORIES

INTERROGATORY NO. i

For any individuals, including doctors, psychologists, social workers, medical personnel,
or other care givers, who have examined or treated you for any illness, injury, or condition you

allege in the Complaint that you suffered as a result of the alleged conduct of the Defendant,

please:
a. State the name and address and specialty, if any, of the individual(s) who
examined or treated you;
b. State the specific illness or condition that was treated; and
C. State the dates and type of examination and/or treatment.

For each and every medical practitioner, psychologist, counselor, social worker, or care
giver listed above, please complete, sign, and return with your answers to these Interrogatories

an Authorization for the Release and Disclosure of Medical Records and Protected Health

2
Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2477 Filed 03/24/16 Page 4 of 9

Information and an Authorization for the Release and Disclosure of Psychotherapy Notes.
(Attached hereto are Authorizations for your use. If additional Authorizations are needed, you
may make copies of the form for your use.)

ANSWER TO INTERROGATORY NO. 1

Objection. Defendant’s Interrogatory calls for Plaintiff to divulge sensitive information that is
not likely to be relevant. Plaintiff has provided Defendant with a proposed protective order, but
has not received a response as of the date of Plaintiff's Response. Plaintiff will supplement this
response and provide Defendant with the information requested, but only after a protective order
has been entered by the court.

SUPPLEMENTAL ANSWER TO INTERROGATORY NO. 1 PREVIOUSLY PROVIDED

Subject to the foregoing General Objections, Plaintiff reserves the right to supplement and
answers as follows:

a. Dr. Reza Kahnamouei
43301 Commons Dr.
Clinton Township, MI 48048
(586) 745-3006

b. anxiety, major depression, and post-traumatic stress disorder

C. I cannot recall exact dates, but I was told by my primary care physician that J
suffered from the above. He took me off work for five days and provided the
following prescription medication: Paxil and Xanax. I was referred to a
psychiatrist, but I have lost my medical insurance and cannot afford to seek
further treatment.

SUPPLEMENTAL ANSWER TO INTERROGATORY NO. 1

Subject to the foregoing General Objections, Plaintiff reserves the right to supplement and
answers as follows:

1. a. Dr. Marilyn Louis
Main Street Family Practice
117 South Burgess
West Branch, MI 48661
(989) 343-1367
Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2478 Filed 03/24/16 Page 5 of 9

b. general practitioner ~- prescribes medication for anxiety and major depression

C. I cannot recall exact dates, but I was told by my primary care physician that I
suffered from the above.

2. a. Kriss Goodroe
Ministry Director and Licensed Professional Counselor
trueNorth
2945 Hansen Rd.
West Branch, MI 48661
929-27-4HOPE

b. anxiety and major depression

c. Every Thursday, beginning in or around September 2016

INTERROGATORY NO. 4

With the exception of your employment with Defendant, identify each and every
employment you have had from 2009 to the present, and for each employment identify:

a. The name and address of the employer;

b. The dates of employment; and

c. Whether you are presently employed and, if not, the reason.

For each and every employer listed above, please complete, sign, and return with your
answers to these interrogatories an Authorization for the Release and Disclosure of Employment
Records. (Attached hereto is an Authorization for your use. If additional Authorizations are
needed, you may make copies of the form for your use.)

ANSWER TO INFERROGATORY NO. 4

Objection. Defendant’s Interrogatory is not calculated to lead to relevant information, is overly
broad, and unduly burdensome. Plaintiff further puts Defendant on notice that if Defendant
unilaterally contacts any subsequent employer or prospective employer and puts them on notice
of this action without seeking the information through less intrusive means, Plaintiff believes

such an act as a retaliatory act and will seek recourse for such retaliatory act. Plaintiff reserves
4
Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2479 Filed 03/24/16 Page 6 of 9

the right to supplement this answer in accordance with subsequently discovered or developed
information. In the spirit of discovery, subject to and without waiving the foregoing objection
and Plaintiff's General Objections, Plaintiff answers as follows:
These documents were lost in a flood. I worked at Right at Home in Sterling Heights, but I do
not possess records or recall the dates anymore. I left employment there to start work at Henry
Ford, Currently, I work at Davis Smith Inc. My start date was June 11, 2014. Please see attached
documents.
SUPPLEMENTAL ANSWER TO INTERROGATORY NO. 4 PREVIOUSLY PROVIDED
Subject to the foregoing General Objections, Plaintiff reserves the right to supplement and
answers as follows:
After Plaintiff lost her home, she was forced to leave Davis Smith Inc. and relocate on December
31, 2014. She has recently accepted employment with Leelin Home Health Care on January 15,
2015 located at 352 E Houghton Ave., West Branch, MI 48661.
SUPPLEMENTAL ANSWER TO INTERROGATORY NO, 4
Subject to the foregoing General Objections, Plaintiff reserves the right to supplement and
answers as follows:

Plaintiff worked at Quest Diagnostics at their East China, MI location between August
14, 2014 and December 31, 2014.

Plaintiff once again worked for Quest Diagnostics from in or around July 2015 to present
at Anchor Bay Medical in Anchor Bay, Michigan and the Mio-Alger location in Mio, Michigan
and Alger, Michigan. However, on January 11, 2016, Plaintiff began working part-time due to

position restructuring at Prudenville, Michigan.
Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2480 Filed 03/24/16 Page 7 of 9

Dated: January 20, 2016

Respectfully submitted,

OL
By:_, Ve
~ “dam C. Graham (P79361)
ttorneys for Plaintiff ™
600 W. Lafayette Blvd., 4"" Floor
Detroit, MI 48226-0840

(313) 964-4454

Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2481 Filed 03/24/16 Page 8 of 9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
NATALIE REESER,
Case No. 2:14-cv-11916-GCS-MJH
Plaintiff, Hon. George Caram Steeh
Vv Magistrate Judge Michael Hluchaniuk

HENRY FORD HEALTH SYSTEM
d/b/a HENRY FORD HOSPITAL,

Defendant.
MUELLER COBEN, P.L.C. VARNUM LLP
Richard G. Mack, Jr. (P58657) Terrance J. Miglio (P30541)
Keith D. Flynn (P74192) Barbara E. Buchanan (P55084)
Adam C. Graham (P79361) Attorneys for Defendant
Attorneys for Plaintiff 39500 High Pointe Bivd., Ste. 350
600 W. Lafayette Blvd., 4" Floor Novi, MI 48375
Detroit, MI 48226-0840 (248) 567-7828

(313) 964-4454

PROOF OF SERVICE

MICHELLE COIL PLESKY, an employee of MILLER COHEN, P.L.C., says that on January 20,
2016, she served Plaintiff's Third Supplemental Answers to Defendant’s First Interrogatories to
Plaintiff, along with this Proof of Service, upon Attorney Terrance Miglio of Varnum LLP, 39500
High Pointe Blvd., Ste. 350, Novi, Michigan 48375 via U.S. First-Class Mail by enclosing the same
in a sealed envelope with postage fully prepaid, and by depositing the same in the United States Postal

Receptacle in Detroit, Michigan, and via electronic mail to timiglio@varmmumlaw.com.

MICHELLE COIL PLESKY
Subscribed and sworn to before me on
this 20" day of January 2016

Diane Boxie, Notary Public
Wayne County, MI
My Commission Expires: 09/15/2020
Case 2:14-cv-11916-GCS-SDD ECF No. 76-10, PagelD.2482 Filed 03/24/16 Page 9 of 9

